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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                 NO. 4:04CR00291-12 JLH

DAVID LYNN PORCH                                                                   DEFENDANT

                                      AMENDED ORDER

       Pending before the Court is the government’s motion for revocation of defendant David

Lynn Porch’s supervised release. Document #1026. The government has also requested that a

summons be issued for defendant.

       IT IS HEREBY ORDERED that a hearing on the government’s motion to revoke is

scheduled to begin on TUESDAY, JUNE 10, 2014, at 10:45 A.M., in Courtroom #4-D, Richard

Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas, to

show cause why defendant’s supervised release should not be revoked.

       Assistant Federal Public Defender Justin Eisele is hereby appointed to represent defendant

during revocation proceedings. Mr. Eisele is directed to inform defendant of the time change of the

hearing.

       IT IS SO ORDERED this 29th day of May, 2014.



                                                     __________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
